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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 F.V. and DANI MARTIN,                                       No. 1:17-cv-00170-CWD

                        Plaintiffs,                          PLAINTIFFS’ MOTION FOR
                                                             ATTORNEYS’ FEES AND
                v.                                           EXPENSES

 DAVID JEPPESEN, in his official capacity as
 Director of the Idaho Department of Health and
 Welfare; ELKE SHAW-TULLOCH, in her official
 capacity as Administrator of the Division of Public
 Health for the Idaho Department of Health and
 Welfare; and JAMES AYDELOTTE, in his
 official capacity as State Registrar and Chief of the
 Bureau of Vital Records and Health Statistics,

                        Defendants.
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       Plaintiffs F.V. and Dani Martin, by and through their undersigned counsel, hereby move

for attorneys’ fees and expenses pursuant to 42 U.S.C. § 1988. This motion is based on the

accompanying Memorandum of Law in Support of Plaintiffs’ Motion for Attorneys’ Fees and

Expenses, as well as the accompanying declarations and exhibits (which contain the information

required by Local Rule 54.2), all the pleadings and papers on file, and any argument the Court

may consider. This motion is timely pursuant to this Court’s order. Dkt. 81.



DATED: September 29, 2021                    By:    /s/ Nora Huppert

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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 29th day of September, 2021, I filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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                                                   /s/ Nora Huppert
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